                           UNITED STATES OF AMERICA
                        MERIT SYSTEMS PROTECTION BOARD

     MIZIEL REMOLONA,                                DOCKET NUMBER
                  Appellant,                         NY-1221-23-0057-W-1

                  v.

     DEPARTMENT OF VETERANS                          DATE: August 21, 2024
       AFFAIRS,
                 Agency.



             THIS FINAL ORDER IS NONPRECEDENTIAL 1

           Christopher Forasiepi , Esquire, Bobby Devadoss , Esquire, and Maya
             Glaspie , Esquire, Dallas, Texas, for the appellant.

           Georgette Gonzales-Snyder , Esquire, Syracuse, New York, for the agency.

           Shelly S. Glenn , Esquire, Baltimore, Maryland, for the agency.

                                           BEFORE

                                Cathy A. Harris, Chairman
                             Raymond A. Limon, Vice Chairman
                                Henry J. Kerner, Member*

              *Member Kerner did not participate in the adjudication of this appeal.

                                       FINAL ORDER

¶1         The appellant has filed a petition for review of the initial decision, which
     dismissed her individual right of action (IRA) appeal for lack of jurisdiction
     without a hearing. On petition for review, the appellant challenges the denial of
     1
        A nonprecedential order is one that the Board has determined does not add
     significantly to the body of MSPB case law. Parties may cite nonprecedential orders,
     but such orders have no precedential value; the Board and administrative judges are not
     required to follow or distinguish them in any future decisions. In contrast, a
     precedential decision issued as an Opinion and Order has been identified by the Board
     as significantly contributing to the Board’s case law. See 5 C.F.R. § 1201.117(c).
                                                                                          2

     jurisdiction. Generally, we grant petitions such as this one only in the following
     circumstances: the initial decision contains erroneous findings of material fact;
     the initial decision is based on an erroneous interpretation of statute or regulation
     or the erroneous application of the law to the facts of the case; the administrative
     judge’s rulings during either the course of the appeal or the initial decision
     were not consistent with required procedures or involved an abuse of discretion,
     and the resulting error affected the outcome of the case; or new and material
     evidence or legal argument is available that, despite the petitioner’s due
     diligence, was not available when the record closed.         Title 5 of the Code of
     Federal Regulations, section 1201.115 (5 C.F.R. § 1201.115).              After fully
     considering the filings in this appeal, we conclude that the petitioner has not
     established any basis under section 1201.115 for granting the petition for review.
     Therefore, we DENY the petition for review. Except as expressly MODIFIED to
     supplement the administrative judge’s analysis and findings on exhaustion and
     regarding the appellant's alleged protected disclosures , we AFFIRM the initial
     decision.

                      DISCUSSION OF ARGUMENTS ON REVIEW

     The appellant did not nonfrivolously allege that she made a protected disclosure.
¶2         We agree with the administrative judge that the appellant did not
     nonfrivolously allege that she made a protected disclosure. 2 Initial Appeal File
     (IAF), Tab 14, Initial Decision (ID) at 7-13. We supplement the administrative
     judge’s conclusion with the following discussion.
¶3         A protected disclosure is a disclosure that an appellant reasonably believes
     evidences one of the categories of wrongdoing listed in 5 U.S.C. § 2302(b)(8)
     (A). Turner v. Department of Agriculture, 2023 MSPB 25, ¶ 14. A reasonable
     belief exists if a disinterested observer with knowledge of the essential facts
     known to and readily ascertainable by the appellant could reasonably conclude
     2
      We thus do not reach the question of whether the appellant nonfrivolously alleged that
     her protected disclosures were a contributing factor in her removal.
                                                                                         3

     that the actions of the Government evidence one of the categories of wrongdoing
     listed in section 2302(b)(8)(A). Id.¶4         Disclosures must be specific and detailed, not vague allegations of
     wrongdoing. Gabel v. Department of Veterans Affairs, 2023 MSPB 4, ¶ 6.
     Vague, conclusory, unsupported, and pro forma allegations of alleged wrongdoing
     do not meet the nonfrivolous pleading standard needed to establish the Board’s
     jurisdiction over an IRA appeal. El v. Department of Commerce, 123 M.S.P.R.
     76, ¶ 6 (2015), aff’d, 663 F. App’x 921 (Fed. Cir. 2016). Thus, in Mc Corcle v.
     Department of Agriculture, 98 M.S.P.R. 363, ¶¶ 21-22, 24 (2005), the Board
     found that an appellant’s bare allegations of discrimination and broad and
     nonspecific claims of managerial “irregularities,” among others, were too vague
     to constitute nonfrivolous allegations of protected disclosures.         In another
     example, in Padilla v. Department of the Air Force, 55 M.S.P.R. 540, 543-44
     (1992), the Board affirmed a jurisdictional dismissal of an IRA appeal, finding
     that an appellant’s assertions that there was “fraud, waste, and abuse” in certain
     sections of a military unit, and that various conditions were caused by “poor
     organization, discipline, and management,” were vague allegations regarding
     broad and imprecise matters that did not constitute whistleblowing.
¶5         The appellant’s alleged disclosures in this appeal were similarly defective.
     During the appeal, the administrative judge notified the appellant—who was
     represented by attorneys throughout her appeal—that to establish jurisdiction, she
     must make a nonfrivolous allegation that she made a protected disclosure or
     engaged in protected activity. IAF, Tab 6 at 2. The notice also provided the
     appellant with the relevant legal standards, including the definition of a protected
     disclosure.   Id. at 2-7.   With her notice, the administrative judge ordered the
     appellant to file a statement describing her protected disclosures, explaining that a
     nonfrivolous allegation was a “detailed, factual allegation,” while conclusory,
     vague, or unsupported allegations would not suffice. Id. at 3-4, 7-8.
                                                                                              4

¶6         In response, the appellant claimed she was removed in reprisal for
     disclosing to her supervisors and preceptors that she was receiving “contradictory
     and inconsistent instructions regarding her job duties” from them and that the
     instructions were incorrect, violated agency policy, and could harm patients. IAF,
     Tab 8 at 8-9, 13. The appellant further alleged that her disclosures regarding her
     inconsistent instructions evidenced, among other things, an “abuse of power” and
     “perceived waste, fraud, and/or abuse” by her supervisors and preceptors.               Id.
     at 9, 11.    Nowhere below, however, did the appellant describe what these
     “contradictory and inconsistent instructions” were, why they were incorrect, what
     policy they allegedly violated, 3 or how they could harm patients. 4 The vagueness
     of the appellant’s alleged disclosures precludes any determination of whether she
     reasonably believed they evidenced one of the forms of wrongdoing listed in
     5 U.S.C. § 2302(b)(8), as required for protection under the whistleblower




     3
       Ordinarily, to make a protected disclosure of a violation of law, rule, or regulation, an
     employee must identify the specific law, rule, or regulation that was violated, though an
     individual need not identify a statutory or regulatory provision by a particular title or
     number when the statements and the circumstances surrounding the making of those
     statements clearly implicate an identifiable violation of law, rule, or regulation.
      Ayers v. Department of the Army, 123 M.S.P.R. 11, ¶ 24 (2015) (internal quotations
     omitted). Here, the appellant’s descriptions of her alleged disclosures did not clearly
     implicate an identifiable violation of law, rule, or regulation.
     4
       In her petition for review, the appellant asserts for the first time that she disclosed
     concerns that COVID-19 screening instructions she received from her preceptors
     contradicted written instructions and agency policies. Petition for Review (PFR) File,
     Tab 1 at 13. She did not, however, identify the policies with any specificity, provide a
     copy of them, or identify where they could be located. She did provide further details
     regarding the allegedly contradictory instructions in her reply to the response to her
     petition for review. PFR File, Tab 4 at 5, 7. The appellant does not show that her new
     arguments are based on new and material evidence that was previously unavailable
     despite due diligence, nor offer any reason for why she did not provide these details
     below in response to the administrative judge’s clear jurisdictional order or otherwise.
     We thus do not consider them. See Clay v. Department of the Army, 123 M.S.P.R. 245,
     ¶ 6 (2016).
                                                                                       5

protection statutes. 5 The appellant’s descriptions of her alleged disclosures were
thus too vague to satisfy the nonfrivolous pleading standard in an IRA appeal. 6

                         NOTICE OF APPEAL RIGHTS 7
      The initial decision, as supplemented by this Final Order, constitutes the
Board’s final decision in this matter.      5 C.F.R. § 1201.113.      You may obtain
review of this final decision. 5 U.S.C. § 7703(a)(1). By statute, the nature of
your claims determines the time limit for seeking such review and the appropriate
forum with which to file. 5 U.S.C. § 7703(b). Although we offer the following
summary of available appeal rights, the Merit Systems Protection Board does not
provide legal advice on which option is most appropriate for your situation and

5
   The agency argues in its response to the petition for review that, because the
appellant’s Office of Special Counsel (OSC) complaint did not describe her alleged
disclosures regarding inconsistent instructions, the appellant was precluded from
asserting those disclosures in her Board appeal. PFR File, Tab 3 at 13-15. We disagree
and supplement the administrative judge’s exhaustion findings with the following
discussion. ID at 6. The substantive requirements of exhaustion are met when an
appellant has provided OSC with sufficient basis to pursue an investigation.
Chambers v. Department of Homeland Security, 2022 MSPB 8, ¶ 10. The Board’s
jurisdiction over an IRA appeal is limited to those issues that have been previously
raised with OSC. Id. An appellant may demonstrate exhaustion through her initial OSC
complaint or correspondence with OSC. Id., ¶ 11. The agency’s argument overlooks a
letter to OSC in which the appellant alleged that she was removed in reprisal for
disclosing concerns regarding inconsistent instructions from her supervisors and
preceptors. IAF, Tab 8 at 224-26. Because this letter provided OSC with a sufficient
basis to investigate those alleged disclosures, despite their vagueness, the appellant
exhausted administrative remedies regarding them.
6
 The appellant also alleges for the first time on review that she made disclosures to her
supervisors and preceptors regarding reports about her performance, and that the agency
characterized her objections to violations of policy and her written instructions as
misconduct in the decision notice. PFR File, Tab 1 at 12, 15. The appellant’s purported
disclosures about her performance reports are also overly vague, as she provides no
description of what she disclosed about the reports, or any other basis for determining
whether she reasonably believed the disclosures evidenced one of the forms of
wrongdoing set forth in 5 U.S.C. § 2302(b)(8). We also fail to discern anything in the
decision notice which matches the appellant’s description of its contents. Id. at 193-95.
7
  Since the issuance of the initial decision in this matter, the Board may have updated
the notice of review rights included in final decisions. As indicated in the notice, the
Board cannot advise which option is most appropriate in any matter.
                                                                                        6

the rights described below do not represent a statement of how courts will rule
regarding which cases fall within their jurisdiction. If you wish to seek review of
this final decision, you should immediately review the law applicable to your
claims and carefully follow all filing time limits and requirements. Failure to file
within the applicable time limit may result in the dismissal of your case by your
chosen forum.
      Please read carefully each of the three main possible choices of review
below to decide which one applies to your particular case. If you have questions
about whether a particular forum is the appropriate one to review your case, you
should contact that forum for more information.

      (1) Judicial review in general . As a general rule, an appellant seeking
judicial review of a final Board order must file a petition for review with the U.S.
Court of Appeals for the Federal Circuit, which must be received by the court
within 60 calendar days of the date of issuance of this decision.               5 U.S.C.
§ 7703(b)(1)(A).
      If you submit a petition for review to the U.S. Court of Appeals for the
Federal   Circuit,   you   must   submit   your   petition   to   the   court    at   the
following address:
                              U.S. Court of Appeals
                              for the Federal Circuit
                             717 Madison Place, N.W.
                             Washington, D.C. 20439

      Additional information about the U.S. Court of Appeals for the Federal
Circuit is available at the court’s website, www.cafc.uscourts.gov. Of particular
relevance is the court’s “Guide for Pro Se Petitioners and Appellants,” which is
contained within the court’s Rules of Practice, and Forms 5, 6, 10, and 11.
      If you are interested in securing pro bono representation for an appeal to
the U.S. Court of Appeals for the Federal Circuit, you may visit our website at
http://www.mspb.gov/probono for information regarding pro bono representation
                                                                                    7

for Merit Systems Protection Board appellants before the Federal Circuit. The
Board neither endorses the services provided by any attorney nor warrants that
any attorney will accept representation in a given case.

      (2) Judicial   or   EEOC     review   of   cases     involving   a   claim   of
discrimination . This option applies to you only if you have claimed that you
were affected by an action that is appealable to the Board and that such action
was based, in whole or in part, on unlawful discrimination. If so, you may obtain
judicial review of this decision—including a disposition of your discrimination
claims —by filing a civil action with an appropriate U.S. district court ( not the
U.S. Court of Appeals for the Federal Circuit), within 30 calendar days after you
receive this decision.     5 U.S.C. § 7703(b)(2); see Perry v. Merit Systems
Protection Board, 582 U.S. 420 (2017). If you have a representative in this case,
and your representative receives this decision before you do, then you must file
with the district court no later than 30 calendar days after your representative
receives this decision. If the action involves a claim of discrimination based on
race, color, religion, sex, national origin, or a disabling condition, you may be
entitled to representation by a court-appointed lawyer and to waiver of any
requirement of prepayment of fees, costs, or other security.           See 42 U.S.C.
§ 2000e-5(f) and 29 U.S.C. § 794a.
      Contact information for U.S. district courts can be found at their respective
websites, which can be accessed through the link below:
      http://www.uscourts.gov/Court_Locator/CourtWebsites.aspx .
      Alternatively, you may request review by the Equal Employment
Opportunity Commission (EEOC) of your discrimination claims only, excluding
all other issues . 5 U.S.C. § 7702(b)(1). You must file any such request with the
EEOC’s Office of Federal Operations within 30 calendar days after you receive
this decision. 5 U.S.C. § 7702(b)(1). If you have a representative in this case,
and your representative receives this decision before you do, then you must file
                                                                                      8

with the EEOC no later than 30 calendar days after your representative receives
this decision.
      If you submit a request for review to the EEOC by regular U.S. mail, the
address of the EEOC is:
                            Office of Federal Operations
                     Equal Employment Opportunity Commission
                                  P.O. Box 77960
                             Washington, D.C. 20013

      If you submit a request for review to the EEOC via commercial delivery or
by a method requiring a signature, it must be addressed to:
                            Office of Federal Operations
                     Equal Employment Opportunity Commission
                                 131 M Street, N.E.
                                   Suite 5SW12G
                             Washington, D.C. 20507

      (3) Judicial     review   pursuant     to   the    Whistleblower      Protection
Enhancement Act of 2012 . This option applies to you only if you have raised
claims of reprisal for whistleblowing disclosures under 5 U.S.C. § 2302(b)(8) or
other protected activities listed in 5 U.S.C. § 2302(b)(9)(A)(i), (B), (C), or (D).
If so, and your judicial petition for review “raises no challenge to the Board’s
disposition of allegations of a prohibited personnel practice described in section
2302(b) other than practices described in section 2302(b)(8), or 2302(b)(9)(A)(i),
(B), (C), or (D),” then you may file a petition for judicial review either with the
U.S. Court of Appeals for the Federal Circuit or any court of appeals of
competent jurisdiction. 8   The court of appeals must receive your petition for

8
   The original statutory provision that provided for judicial review of certain
whistleblower claims by any court of appeals of competent jurisdiction expired on
December 27, 2017. The All Circuit Review Act, signed into law by the President on
July 7, 2018, permanently allows appellants to file petitions for judicial review of
MSPB decisions in certain whistleblower reprisal cases with the U.S. Court of Appeals
for the Federal Circuit or any other circuit court of appeals of competent jurisdiction.
The All Circuit Review Act is retroactive to November 26, 2017. Pub. L. No. 115-195,
132 Stat. 1510.
                                                                                  9

review within 60 days of the date of issuance of this decision.          5 U.S.C.
§ 7703(b)(1)(B).
      If you submit a petition for judicial review to the U.S. Court of Appeals for
the Federal Circuit, you must submit your petition to the court at the
following address:
                             U.S. Court of Appeals
                             for the Federal Circuit
                            717 Madison Place, N.W.
                            Washington, D.C. 20439

      Additional information about the U.S. Court of Appeals for the Federal
Circuit is available at the court’s website, www.cafc.uscourts.gov. Of particular
relevance is the court’s “Guide for Pro Se Petitioners and Appellants,” which is
contained within the court’s Rules of Practice, and Forms 5, 6, 10, and 11.
      If you are interested in securing pro bono representation for an appeal to
the U.S. Court of Appeals for the Federal Circuit, you may visit our website at
http://www.mspb.gov/probono for information regarding pro bono representation
for Merit Systems Protection Board appellants before the Federal Circuit. The
Board neither endorses the services provided by any attorney nor warrants that
any attorney will accept representation in a given case.
                                                                       10

      Contact information for the courts of appeals can be found at their
respective websites, which can be accessed through the link below:
      http://www.uscourts.gov/Court_Locator/CourtWebsites.aspx .




FOR THE BOARD:                       ______________________________
                                     Gina K. Grippando
                                     Clerk of the Board
Washington, D.C.
